
PER CURIAM: *
Appealing the Judgment in a Criminal Case, Jose Navarrete-Fierro (Navarrete) raises arguments that are foreclosed by Almendarez-Torres v. United States, 523 U.S. 224, 235, 118 S.Ct. 1219, 140 L.Ed.2d 350 (1998), which held that 8 U.S.C. § 1326(b)(2) is a penalty provision and not a separate criminal offense. Navarrete also raises arguments that are foreclosed by United States v. Mejia-Huerta, 480 F.3d 713, 723 (5th Cir.2007), petition for cert. filed, 75 U.S.L.W. 3585 (U.S. Apr. 18, 2007) (No. 06-1381), which held that the district court is not required to provide notice prior to sentencing of its sua sponte intention to impose a non-Guidelines sentence. The Government’s motion for summary affirmance is GRANTED, and the judgment of the district court is AFFIRMED.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under the limited circumstances set forth in 5th Cir. R. 47.5.4.

